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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                                   xxxx           21-197
                                                           Mag./Crim. No. ______ _

                                                            APPLICATION FOR PERMISSION
               V.                                           TO ENTER PLEA OF GUILTY

                                                            (Defendant with Counsel)
Raymond Cata nia
 (Defendant's Name)



_R_a_y_m_ o_n_d_ Cat_
                  _ a _n _ia_______ _, hereby certifies as follows:
(Defendant's Name)


1.     My full name is, Raymond Catania                                   and I request that all proceedings
       against me be held in that name.
2.     I understand that the Constitution and laws of the United States guarantee me the right to be
       represented by a la'\1/)'er at every stage in these proceedings, including any trial on these
       cnarges, and that ifl cannot afford to hire a lawyer, the Court will provide one for me.
3.     I have a lawyer who is representing me in this proceeding. My lawyer's name is
        Dennis C. Carletta, Esq.                     • I am satisfied that I have had enough time
       to discuss this matter with my lawyer.
4.     English [Z] [IS] n[IS NOTl m,.YJ1ative language. Mt5rmal education stopped after [grade]
       M.o.           • lam presently l.{J[UNEMPLOYED]     [EMPLOYED] as a
       Physician                        (OCCUpation).


5.     I have taken    D [NO] 0LTHE FOLLOW NG] drugs or medicati within the past
       seventy-two hours: Lex A -f..() 7..J 14 b-   XAN ,         x V/t 11., /AU...
                                                                              o/1
                                                                                    Of uR. / ;\Jol-/
                            F' i i'-1" �STEP-. (])G
6.     I D [HAVE] �HAVE NEVER] been a patient in a mental hospital or institution.
       ID   [DO] [JJfDO NOT] believe that at the present time I am mentally ill or mentally
       incompetent in any respect.

7.     I received a copy of the    O
                                   [COMPLAINT]              □
                                                        [INDICTMENT] [Z] [INFORMATION]
       before being called upon to plead. I have read and discussed it with my lawyer. I
       understand that the substance of the charge(s) against me is that I:
      Knowingly and intentionally distributed oxycodone, a Schedule II controlled substance, in violation of Title
      21, United States Code, Sections 841(a)(l) and 84l(b)(l)(C).

       [add separate sheets if necessary]

                                                                                               DNJ-CR-12 (Rev. 08/2010)
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